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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
        v.                                            )       Crim. No. 1:19-cr-148
                                                      )
                                                      )
PRAKAZREL MICHEL,                                     )
LOW TAEK JHO                                          )

                                                NOTICE

        The government provides this Notice pursuant to the Court’s Minute Order of March 20,

2023.

        1. In the investigative file for this matter, there are records and communications of which

             the defendant was aware that depict Guo in a negative light and were created, dated, or

             exchanged during the course of the charged conspiracy.

        2. All such records from the prosecution team’s investigative file depicting Guo in a

             negative light have been produced to the defendant in discovery.

        3. Special Agent Andrew Zitman with the Federal Bureau of Investigation did not work

             as an investigative agent in either this pending case or the pending case in the United

             States District Court for the Southern District of New York, United States v. Kwok et

             al., 23 Cr. 118 (AT) (S.D.N.Y.).




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                               Respectfully submitted,

                                  COREY R. AMUNDSON
                                  Chief, Public Integrity Section
                                  Criminal Division
                                  U.S. Department of Justice

                                  By: /s/ John D. Keller
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: March 21, 2023                                    /s/ John D. Keller
                                                         John D. Keller




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